877 F.2d 59Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steve Alexander KIRKPATRICK, Plaintiff-Appellant,v.Warden DIXON, Aaron Johnson, Department of CorrectionInstitute in the Health Care Administration,Defendants-Appellees.
    No. 89-7572.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 28, 1989.Decided June 5, 1989.
    
      Steve Alexander Kirkpatrick, appellant pro se.
      Before K.K. HALL, PHILLIPS, and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Steve Alexander Kirkpatrick appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Kirkpatrick v. Dixon, C/A No. 88-976-CRT (E.D.N.C. Mar. 2, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    